                                     Case 2:18-cv-05026-JAK-JPR Document 4 Filed 06/06/18 Page 1 of 3 Page ID #:183




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                                         Attorneys for Plaintiff
                                     8
                                         BLUE SPIKE LLC
                                     9

                                    10
                                                        IN THE UNITED STATES DISTRICT COURT
                                    11
GARTEISER HONEA – TRIAL ATTORNEYS




                                    12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    13

                                    14   BLUE SPIKE LLC,                             Civil Case No.: 2:18-cv-05026
                                    15
                                                      Plaintiff,                     BLUE SPIKE LLC’S
                                    16                                               CORPORATE DISCLOSURE
                                         v.                                          STATEMENT
                                    17

                                    18   Aspiro AB,                                  JURY TRIAL DEMANDED
                                    19
                                                      Defendant.
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                                    22
                                               Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Blue Spike LLC
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                                    24
                                         states that it has no parent company and that no publicly held corporation owns 10%

                                    25   or more of its stock.
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                                     1   Dated June 6, 2018
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                                                                                   Respectfully submitted,
                                     3
                                                                                   /s/ Randall T. Garteiser
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                                                                                   Counsel for Blue Spike LLC
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                                     1                              CERTIFICATE OF SERVICE
                                     2
                                                The undersigned certifies that the foregoing document was filed
                                     3   electronically in compliance with Local Rule CV-5(a). As such, this document was
                                         served on all counsel who are deemed to have consented to electronic service.
                                     4
                                         Local Rule CV-5(a)(3)(A). Pursuant to Federal Rule of Civil Procedure 5(d) and
                                     5   Local Rule CV-5(d) and (e), all other counsel of record not deemed to have
                                         consented to electronic service were served with a true and correct copy of the
                                     6
                                         foregoing by email, on this date stamped above.
                                     7
                                                                                      /s/ Randall T. Garteiser
                                     8
                                                                                      Randall T. Garteiser
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GARTEISER HONEA – TRIAL ATTORNEYS




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